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     7 Attorneys for Defendant
       Multi Media, LLC
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     9                       UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 DENIECE WAIDHOFER, an                    Case No. 2:20-cv-06979
      individual; MARGARET MCGEHEE,
   12 an individual; and RYUU LAVITZ,          DECLARATION OF GREGORY A.
      LLC, a Massachusetts limited liability   FUOCO IN SUPPORT OF
   13 company;                                 DEFENDANT MULTI MEDIA,
                                               LLC’S SUPPLEMENTAL
   14              Plaintiffs,                 MEMORANDUM SUPPORTING
                                               ITS PORTIONS OF THE JOINT
   15        vs.                               STIPULATION REGARDING
                                               PLAINTIFFS’ DISCOVERY
   16 CLOUDFLARE, INC., a Delaware             REQUESTS TO MULTI MEDIA,
      corporation; BANGBROS.COM, INC.,         LLC
   17 a Florida corporation; SONESTA
      TECHNOLOGIES, INC., a Florida
   18 corporation; MULTI MEDIA LLC, a
      California limited liability company;    [Filed concurrently with Multi Media,
   19 CRAKMEDIA INC., a Canadian               LLC’s Supplemental Memorandum
      corporation; and JOHN DOES 1-21, as-     Supporting its Portions of the Joint
   20 yet unidentified individuals,            Stipulation Regarding Plaintiffs’ Discovery
                                               Requests to Defendant Multi Media, LLC]
   21               Defendants.
                                               Judge: Hon. Alka Sagar
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                                                                        Case No. 2:20-cv-06979
                                                         DECLARATION OF GREGORY A. FUOCO
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     1                     DECLARATION OF GREGORY A. FUOCO
     2        I, Gregory A. Fuoco, hereby declare and state as follows:
     3        1.    I am an attorney licensed to practice before this Court and admitted to the
     4 State Bar of California. I am an associate at Quinn Emanuel Urquhart & Sullivan, LLP
     5 and counsel for Defendant Multi Media, LLC (“Multi Media”) in this matter. I make
     6 this declaration of my own personal knowledge and, if called to testify, I could and
     7 would competently testify hereto under oath. I submit this declaration in support of
     8 Multi Media’s Supplemental Memorandum supporting its portions of the Joint
     9 Stipulation Regarding Discovery to Defendant Multi Media, LLC.
   10         2.    On February 11, 2021, plaintiffs emailed Multi Media their portions of the
   11 joint stipulation.
   12         3.    Multi Media provided its portions of the joint stipulation to plaintiffs by
   13 email on February 18, 2021.
   14         4.    Plaintiffs filed the joint stipulation on February 22, 2021 (Dkt. 125).
   15         5.    On February 24, 2021, I sent plaintiffs an email containing a set of
   16 proposed search terms to govern the parties’ searches for electronically stored
   17 information (“ESI”). A true and accurate copy of this email and the attached list of
   18 terms is attached hereto as Exhibit 8.
   19         6.    On February 26, 2021, plaintiffs responded to this request with their own
   20 proposal for search terms and additional requests for information from Multi Media
   21 under the ESI Stipulation. A true and accurate copy of this email and plaintiffs’
   22 proposal is attached hereto as Exhibit 9.
   23         I declare under penalty of perjury under the laws of the United States of America
   24 that the foregoing is true and correct.
   25         Executed on this 2nd day of March, 2021, at Los Angeles, California.
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                                                              DECLARATION OF GREGORY A. FUOCO
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     1                                   By
     2                                        Gregory Fuoco
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                                                       DECLARATION OF GREGORY A. FUOCO
